 8:12-cr-00307-RFR-SMB            Doc # 32   Filed: 10/25/12    Page 1 of 1 - Page ID # 59




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )                 8:12CR307
                     Plaintiff,                )
                                               )
       vs.                                     )                   ORDER
                                               )
JAMIE WALKER,                                  )
                                               )
                     Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant
Jamie Walker (Walker) (Filing No. 29). Walker seeks additional time in which to file pretrial
motions in accordance with the progression order. Walker has filed an affidavit wherein he
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act (Filing No. 31). Upon consideration,
the motion will be granted.



       IT IS ORDERED:

       Defendant Walker's motion for an extension of time (Filing No. 29) is granted. Walker

is given until on or before November 5, 2012, in which to file pretrial motions pursuant to the

progression order. The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendant in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., the time between October 25, 2012, and

November 5, 2012, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 25th day of October, 2012.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
